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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:24-cv-00355-MDB

   MCKESSON CORPORATION, a Delaware corporation,

          Plaintiff,

   v.

   PREMIER PHARMACY GROUP, LLC, a Colorado limited liability company; and DAVID
   REED, individually,
         Defendants.
   ______________________________________________________________________________

                         [PROPOSED] DEFAULT JUDGMENT
   ______________________________________________________________________________
          This matter is before the Court on Plaintiff McKesson Corporation’s Application for Entry

   of Default Judgment (“Plaintiff’s Application”).

          Upon consideration of Plaintiff’s Application, the materials submitted in support thereof,

   the Court’s file, and noting the lack of an appearance or other response by Defendant Premier

   Pharmacy Group, LLC and Defendant David Reed, the Court finds that Plaintiff’s Application

   should be, and is hereby GRANTED.

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that judgment in favor

   of Plaintiff McKesson Corporation and against Defendants Premier Pharmacy Group, LLC and

   David Reed, jointly and severally as follows:

           A.     Principal balance due and owing:                                    $294,901.76
           B.     Prejudgment interest at 8% per annum compounded annually:            $23,592.14
           C.     Attorneys’ fees pursuant to the Credit Application and Guaranty:     $16,805.00
           D.     Court filing and electronic fees:                                       $405.00
           E.     Service of process fees:                                                $719.00
                                                            TOTAL DAMAGES: $336,422.90
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          IT IS THEREFORE FURTHER ORDERED, ADJUDGED AND DECREED that post-

   judgment interest accrues on the total judgment amount at the rate provided by law from the date

   of this judgment.

          IT IS SO ORDERED this _____ day of __________ 2024.




                                               Magistrate Judge, Maritza Dominguez Braswell




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